                                                                                                                                     MO-1 (3/07)
                    Case 4:23-cr-00061-Y Document  69 Filed
                                          UNITED STATES     10/10/23
                                                        DISTRICT COURTPage 1 of 1 PageID 182
                                                      NORTHERN DISTRICT OF TEXAS
                                                           Fort Worth
                                                        ________________ DIVISION

                 Terry R. Means
HONORABLE _______________________________ PRESIDING                                                   Debbie Kriegshauser
                                                                         COURT REPORTER/TAPE:_____________________________
DEPUTY CLERK ____________________________
                 Michelle Moon                                                           Kathryn Wren
                                                                         USPO_______________________________________________
LAW CLERK __________________________________
                                                                          INTERPRETER _________________________________________



                                      CR. No. _________________________________
                                                      4:23-CR-061-Y                        (2)
                                                                                DEFT. No. _______

UNITED STATES OF AMERICA                                                 §                                 Shawn Smith,
                                                                                                ________________________________ AUSA
                                                                         §
v.                                                                       §
                                                                         §
MARK ANTHONY KIRKLAND
____________________________________________________                     §          _______________________________________________
                                                                                                           Vincent E. Wisely, (A)
Defendant's Name                                                                         Counsel for Deft. Appt-(A), Retd-(R), FPD-(F)

                                                                     SENTENCING

              10-10-23
Date Held: ________________
Hearing Type:      Sentencing Hearing - Contested     Sentencing Hearing - Non-Evidentiary
                26 mins.
Time in Court: ____________
Trial Status:       Completed by Jury Verdict      Continued from Previous Month      Directed Verdict    Evidence Entered
                    Hung Jury    Jury Selection Only, continued    Jury Selection or Verdict Only (No Trial Before this Judge)
                    Mistrial   Settled/Guilty Plea    None
Days in Trial: ____________
Hearing Concluded:    Yes     No

                    Sentencing held.    Objections to PSI heard.   Plea agreement accepted.       Plea agreement NOT accepted.
                    Sentencing Guidelines   Departs Upward       Departs Downward

                    SENTENCING TEXT:
               ..   Deft. placed on: Probation for _______________________________ .
               ..                                                                                     156 months*
                    Deft. committed to custody of the AG/BOP to be imprisoned for a TOTAL term of _______________________.
               ..                                              3 years
                    Deft. placed on: Supervised Released for ___________________________.
               ..   Restitution ordered in the amount of $___________________ and/or Fine imposed in the amount of $____________________.
               ..             1 of indictment
                    Count(s) ____________________      dismissed on government's motion.
               ..   Order dismissing original Indictment/Information to be entered upon government's written motion.
               ..   $________
                      100.00 special assessment on Count(s)_____________
                                                                    1s
                    of       Complaint           Indictment      Information       Superseding Indictment      Superseding Information.
     .......
     .......
                    Deft ordered to surrender to the designated institution on ___________________.
                    Deft failed to appear, bench warrant to issue.
                                                                                                        ),/('
     .......        Bond     continued      revoked                                                   October 10, 2023
     .......        Deft Advised of his right to appeal.                                          .$5(10,7&+(//
     .......        Deft requests Clerk to enter notice of Appeal.                              &/(5.86',675,&7
     .......        Deft Custody/Detention continued.                                                 &2857
     .......        Deft REMANDED to custody.              Court recommends incarceration at _______________________________________.


                               *to run consecutively to any future sentence that may be imposed in pending
OTHER PROCEEDINGS/INFORMATION: _________________________________________________________________________
 parole revocation case nos. 1420416D; 1454195W; and 1454760W in Criminal District Court No. 1, Tarrant County, Texas. This
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________
 sentence shall also run consecutively to any future sentence that may be imposed in case no. 1714144D in Criminal District Court
_______________________________________________________________________________________________________________
 No. 3, Tarrant County, Texas.
